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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

RICHARD COOEY, et al.,

               Plaintiff,

       v.                                              Case No. 2:04-cv-1156
                                                       JUDGE GREGORY L. FROST
TED STRICKLAND, et al.,                                Magistrate Judge Mark R. Abel

               Defendants.

                                     OPINION AND ORDER

       This matter is before the Court for consideration of Defendants’ Motion to Dismiss (Doc.

# 293), Plaintiff Michael Benge’s memorandum in opposition (Doc. # 309), and Defendants’ reply

memorandum (Doc. # 319). For the reasons that follow, this Court finds the motion well taken.

       Benge asserts claims under 42 U.S.C. § 1983 challenging multiple facets of the lethal

injection protocol by which the State of Ohio intends to execute him. Defendants move for

dismissal under Federal Rule of Civil Procedure 12(b)(6) on the ground that the Sixth Circuit’s

decision in Cooey v. Strickland, 479 F.3d 412 (6th Cir. 2007), requires dismissal of the § 1983

claims asserted here. Previously, this Court issued an Opinion and Order in this litigation that

discussed at length the Sixth Circuit’s construction in Cooey of the statute of limitations for such

§ 1983 claims. (Doc. # 344.) The Court adopts and incorporates herein the entirety of that

decision and attaches it to the instant decision for ease of reference.

       As this Court noted in that prior decision, Cooey teaches that § 1983 claims of the sort

asserted in this case begin to accrue upon conclusion of direct review in the state courts and

when a plaintiff knows or has reason to know about the act providing the basis of his or her

injury. Id. at 422. Even in light of recent changes to the lethal injection protocol and the United
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States Supreme Court’s issuance of Baze v. Rees, 128 S. Ct. 1520 (2008)–the latter of which pre-

dated issuance of the Cooey mandate–the court of appeals issued Cooey as binding authority.

This authority reasons that a plaintiff knew or had reason to know about the act providing the

basis of his or her injury when Ohio made lethal injection the exclusive method of execution in

December 2001. Cooey, 479 F.3d at 422. Consequently, review of the briefing and the record

indicates that the following dates are relevant to the statute of limitations issue:

       (1) Date of Benge’s conviction and sentence: June 15, 1993.

       (2) Date the United States Supreme Court denied certiorari: October 7, 1996.

       (3) Date the Sixth Circuit has held inmates like Benge should have been aware of their §

1983 lethal injection protocol claims: December 2001, at the latest.

       In light of the foregoing, this Court concludes that the rationale of Cooey applies to

Benge’s § 1983 claims. The statute of limitations on these claims therefore expired, at the latest,

in December 2003. Benge has raised no arguments to save his claims that the Court did not

previously consider and reject in its attached and incorporated Opinion and Order. Thus,

because Benge’s assertion of his § 1983 claims is time-barred, the Court GRANTS Defendants’

Motion to Dismiss. (Doc. # 293.)

       IT IS SO ORDERED.
                                                            /s/ Gregory L. Frost
                                                       GREGORY L. FROST
                                                       UNITED STATES DISTRICT JUDGE




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